     Case 2:19-cv-07787-JAK-PLA Document 47 Filed 06/30/20 Page 1 of 1 Page ID #:3778


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8                                      UNITED STATES DISTRICT COURT
9                                      CENTRAL DISTRICT OF CALIFORNIA
10                                              WESTERN DIVISION
11

12    ANGELIQUE D. SPURLOCK,                        )    No. CV 19-7787-JAK (PLA)
                                                    )
13                             Petitioner,          )    JUDGMENT
                                                    )
14                   v.                             )
                                                    )
15    JANEL ESPINOZA, Warden,                       )
                                                    )
16                             Respondent.          )
                                                    )
17

18          Pursuant      to     the    Order   accepting    the   Magistrate   Judge’s   Report   and
19    Recommendation,
20          IT IS ADJUDGED that the Petition in this matter is dismissed with prejudice.
21

22    DATED: June 30, 2020                              ________________________________________
                                                                   JOHN A. KRONSTADT
23                                                           UNITED STATES DISTRICT JUDGE
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